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                                                                                                E-FILED
                                                                Monday, 25 October, 2010 12:08:10 PM
                                                                        Clerk, U.S. District Court, ILCD
                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                       PEORIA DIVISION

CEDRIC DUPREE, #N63566,                          )
                                                 )
               Plaintiff,                        )
                                                 )
       vs.                                       )           No. 08-1180
                                                 )
LARRY DEATHERAGE, et al.,                        )
                                                 )
               Defendants.                       )

                DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES
                      TO PLAINTIFF’S AMENDED COMPLAINT

       NOW COMES the Defendant, BRADLEY KNIGHT, by and through his attorney, Lisa

Madigan, Attorney General of the State of Illinois, and hereby answers Plaintiff’s Amended

Complaint as follows:

       Pursuant to this Court’s Case Management Order #3 (Court doc. 127), the Plaintiff

states the following federal claim: that Defendant Knight violated the Plaintiff’s First and Eighth

Amendment rights on March 16, 2006, when he allowed an inmate to assault the Plaintiff,

refused the Plaintiff medical attention for his injuries, and acted in retaliation for previous

lawsuits and grievances.

1.     Defendant denies violating the Plaintiff’s First or Eighth Amendment rights. Specifically,

       Defendant denies allowing an inmate to assault the Plaintiff on March 16, 2006;

       Defendant also denies being deliberately indifferent to a serious medical need; and he

       denies conducting any such action in retaliation for Plaintiff’s previous lawsuits and

       grievances.

                                     RELIEF REQUESTED

       A.      Defendant denies that Plaintiff is entitled to a declaratory judgment.

       B.      Defendant denies that Plaintiff is entitled to any equitable relief.


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       C.      Defendant denies that Plaintiff is entitled to compensatory damages.

       D.      Defendant denies that Plaintiff is entitled to punitive damages.

       E.      Defendant denies that Plaintiff is entitled to any relief requested in the complaint.

                                  AFFIRMATIVE DEFENSES

       A. Statute of Limitations

       Defendant asserts that the incidents described are barred by the statute of limitations.

       B. Qualified Immunity

       At all times relevant to Plaintiff’s claims, the Defendant charged herein acted in good

faith in the performance of his official duties without violating Plaintiff’s clearly established

constitutional rights. Defendant is protected from liability by the doctrine of qualified immunity.

       C. Sovereign Immunity

       To the extent Plaintiff is suing the Defendant for damages in his official capacity, his

claim is barred by sovereign immunity and the Eleventh Amendment.

                                                 Respectfully submitted,

                                                 BRADLEY KNIGHT,

                                                      Defendant,

                                                 LISA MADIGAN, Attorney General,
                                                 State of Illinois

                                             By: s/ Lisa Behle
                                                Lisa Behle, #6298233
                                                Assistant Attorney General
                                                Attorney for Defendant
                                                500 South Second Street
                                                Springfield, Illinois 62706
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
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CEDRIC DUPREE, #N63566,                        )
                                               )
              Plaintiff,                       )
                                               )
       vs.                                     )          No. 08-1180
                                               )
LARRY DEATHERAGE, et al.,                      )
                                               )
              Defendants.                      )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2010, I electronically filed Defendant’s Answer and
Affirmative Defenses to Plaintiff’s Amended Complaint with the Clerk of the Court using the
CM/ECF system which will send notification of such filing(s) to the following:

       Michael J. Charysh
       mcharysh@clsaw-chicago.com

and I hereby certify that on October 25, 2010, I mailed by United States Postal Service, the
document(s) to the following non-registered participant(s):

       Cedric Dupree, #N63566
       Pontiac Correctional Center
       700 W. Lincoln Street
       Post Office Box 99
       Pontiac, Illinois 61764


                                                   Respectfully Submitted,

                                                    s/ Lisa Behle
                                                   Lisa Behle, #6298233
                                                   Assistant Attorney General
                                                   Attorney for Defendant
                                                   500 South Second Street
                                                   Springfield, Illinois 62706
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